      Case 2:20-cv-00975-JMA-ST            Document 78         Filed 12/05/24      Page 1 of 5 PageID #: 411




                                          Attorneys and Counselors at Law
                                  556 Peninsula Blvd., Hempstead, New York 11550
                                     Phone: 516-489-6959 • Fax: 516-489-6958 •
                                             www.brewingtonlaw.com
Frederick K. Brewington                                                                          Of Counsel
Albert D. Manuel III                                                                             Oscar Holt III
Cobia Powell                                                                                     Jay D. Umans

                                                                        December 4, 2024
         VIA ELECTRONIC CASE FILING
         Honorable Joan M. Azrack
         United States District Court Judge
         United States District Court
         Eastern District of New York
         100 Federal Plaza
         Central Islip, New York 11722

                                                        Re:     Cipley v. County of Nassau, et.al
                                                                Docket No.: CV-20-975 (JMA)(ST)
         Dear Judge Azrack:

                 We are the attorneys representing the Plaintiff, Donna Cipley, in the above referenced 42
         U.S.C. §1983 matter. We write to address the issues related to the claim of “hot pursuit” or “exigent
         circumstances” now being raised by Defendants as to their entry into Ms. Cipley’s home. Further
         the issues relating to Resisting Arrest is also addressed below. Additionally, given the testimony
         and proof in this case, we provide the Court with a Fabrication of Evidence charge which request
         be provided to the Jury.

         There were no Exigent Circumstances nor was there a basis for a hot pursuit:

                 Defendants’ newly found defense is that they entered the home as a result of exigent
         circumstances or hot pursuit of Ms. Cipley. There can be no dispute, and the Defendants must
         concede, that they had neither a warrant nor Ms. Cipley’s explicit consent to enter her home on
         March 12, 2019. It is well established that “physical entry of the home is the chief evil against which
         the wording of the Fourth Amendment is directed.” United States v. United States Dist. Court for
         E. Dist. of Mich., 407 U.S. 297, 313, 92 S.Ct. 2125, 32 L.Ed.2d 752 (1972). Indeed, “[t]he core
         premise underlying the Fourth Amendment is that warrantless searches of a home are presumptively
         unreasonable.” Harris v. O'Hare, 770 F.3d 224, 231 (2d Cir. 2014) (citing, inter alia, Kentucky v.
         King, 563 U.S. 452, 131 S.Ct. 1849, 1856 (2011)). If police officers have neither a warrant nor valid
         consent, they need no less than both probable cause and exigent circumstances in order to lawfully
         enter or remain in a person's home. Harris, 770 F.3d at 231 (citing Kirk v. Louisiana, 536 U.S. 635,
         638 (2002) (per curiam )); Fernandez v. California, ––– U.S. ––––, 134 S.Ct. 1126, 1132 (2014).
         One well-recognized exception applies when “‘the exigencies of the situation’ make the needs of
         law enforcement so compelling that [a] warrantless search is objectively reasonable under the Fourth
         Amendment.” Mincey v. Arizona, 437 U.S. 385, 394 (1978).
Case 2:20-cv-00975-JMA-ST            Document 78         Filed 12/05/24       Page 2 of 5 PageID #: 412




           In this case, there was no basis for the Defendants to enter Ms. Cipley’s home to look for
  James Cipley, Jr., unless they created a fabricated story. There is no possibility that Defendants can
  claim that they had permission to rush into Ms. Cipley’s home. Further, the Defendants cannot
  manufacture stories to create exigent conditions upon which they then rely to make an unauthorized
  entry. What is placed squarely before the Court are disputed facts and circumstances that point to
  the abuse of authority and use of process created to serve Defendants own ends. The law is clear
  that police officers may not manufacture or contrive exigent circumstances to conduct a protective
  sweep that is a pretext for a search for evidence, see, e.g., United States v. MacDonald, 916 F.2d
  766, 772 (2d Cir.1990). Nor can Defendants make up a story, as they have here, that Ms. Cipley
  assaulted Defendant Gomez and that her doing so with the front door of her home caused
  circumstances that gave them permission to enter the home by force. Given the facts of this matter,
  the exigent circumstances rule should not apply where the police, without a warrant or any legally
  sound basis for a warrantless entry, were told that the person they were looking for was not present,
  they were to leave the premises and they knew that they could not enter without permission.
  Unwarranted “searches and seizures inside a home” bear heightened scrutiny, Payton v. New York,
  445 U.S. 573, 586 (1980). While “the warrant requirement is subject to certain reasonable
  exceptions,” King, 563 U.S. at 459 (citing Brigham City v. Stuart, 547 U.S. 398, 403 (2006)), these
  “are few in number and carefully delineated and ... the police bear a heavy burden when attempting
  to demonstrate an urgent need that might justify warrantless searches or arrests,” Loria v. Gorman,
  306 F.3d 1271, 1284 (2d Cir. 2002) (quoting Welsh v. Wisconsin, 466 U.S. 740, 749-50 (1984)).

           In light of the proof in this case, we ask the Court to provide the jury with the following
  charge on on Exigent Circumstances:              “The core premise underlying the Fourth Amendment
  is that warrantless searches of a home are presumptively unreasonable.” Harris v. O'Hare, 770 F.3d
  224, 231 (2d Cir. 2014) (citations omitted). If police officers have neither a warrant nor valid
  consent, they need no less than both probable cause and exigent circumstances in order to lawfully
  enter or remain in a person's home. Police may not manufacture or contrive exigent circumstances
  to conduct a search or gain entry into a home for which they otherwise would have no right to enter.

  Plaintiff did not engage in resisting arrest.

           The charge of Resisting Arrest was improper. Ms. Cipley could not be found guilty of
  resisting an unlawful and unauthorized arrest. This is particularly true, if the basis for the arrest was
  one that was manufactured. The law in this area is clear. Penal Law § 205.30 states that "A person
  is guilty of resisting arrest when he intentionally prevents or attempts to prevent a police officer or
  peace officer from effecting an authorized arrest of himself or another person." CPL § 205.30.
  "Under the Penal Law, an essential element of the offense of Resisting Arrest (PL § 205.30) is the
  requirement that there be an ‘authorized' arrest." Infra. Thus, the arrest in issue must have been made
  in accordance with the law, including a finding that the arrest was premised on probable cause."
  People v. Reese, 5 Misc.3d 1030(A), 799 N.Y.S.2d 163 (N.Y.Dist.Ct. Suf. Co. 2004). , supra; citing,
  People v. Jensen, 86 N.Y.2d 248 (1995); "If the arrest was not authorized, the person who
  [allegedly] prevented or attempted to prevent that arrest cannot be charged or convicted of Resisting
  Arrest" Id. (see,also People v. Jensen, 86 N.Y.2d 248 (1995); People v. Peacock, 68 N.Y.2d 675,
  505 N.Y.S.2d 594 (1986). ). "As the allegations in the information do not support the charge, the

                                                     2
Case 2:20-cv-00975-JMA-ST            Document 78         Filed 12/05/24      Page 3 of 5 PageID #: 413




  arrest was not authorized and the resisting arrest charge [should be] dismissed as well." People v.
  Grullon, 9 Misc.3d 1120(A) at 4-5 (N.Y. City Crim. Ct. 2005). See also, People v. Reese, 5 Misc.3d
  1030(A), 799 N.Y.S.2d 163 (N.Y.Dist.Ct. Suf. Co.,2004). Penal Law § 205.30 states that “A person
  is guilty of resisting arrest when he intentionally prevents or attempts to prevent a police officer or
  peace officer from effecting an authorized arrest of himself or another person.” CPL § 205.30. “The
  Statute requires that the arrest be authorized” People v. Grullon, 9 Misc.3d 1120(A) (N.Y. City
  Crim. Ct. 2005), citing, People v. Alejandro, 70 NY2d., 133, 135 (1987). “The crime of resisting
  arrest does not occur if the arrest is illegal or unlawful.” People v. Cameron, 1 Misc3d 1105(A),
  citing, People v. Stevenson, 31 NY2d. 108 (1972).

         In light of the proof in this case, we ask the Court to provide the jury with the following
  charge on Assault in the Second Degree:

          Under New York law a person is guilty of assault in the second degree when a when with
  intent to prevent a police officer from performing a lawful duty, she causes physical injury to such
  police officer.

          In light of the proof in this case, we ask the Court to provide the jury with the following
  charge on Resisting Arrest Charge:

          Under New York law, a person is guilty of resisting arrest when he intentionally prevents
  or attempts to prevent a police officer or peace officer from effecting an authorized arrest of herself
  or another person. Plaintiff could not have committed the crime of resisting arrest unless the original
  police conduct was an “authorized arrest.” In other words, if the defendants lacked probable cause
  to arrest plaintiff for any other offense, then he cannot be guilty of resisting arrest. Therefore, when
  you consider whether the defendants had probable cause to believe that the plaintiff had committed
  the crime of resisting arrest, you must be convinced that the defendants had probable cause to arrest
  her for assault in the second degree.

          If you find that there was probable cause to arrest Plaintiff for this offense, then the
  plaintiff’s arrest was not unlawful and your verdict on the plaintiff’s false arrest claim must be for
  defendants. On the other hand, if you find that defendants did not have probable cause to arrest the
  plaintiff for assault in the second degree, then your verdict on plaintiff’s false arrest claim must be
  for plaintiff.

  Alternative Charge on Resisting Arrest:

          I also instruct you that plaintiff could not have committed the crime of Resisting Arrest
  unless the original police conduct was an “authorized arrest,” i.e., unless the police were justified
  in arresting her in the first place. (Authority: People v. Jensen, 86 N.Y.2d 248 (1995)). In other
  words, “probable cause to arrest is a prerequisite for making an authorized arrest, and if there is no
  probable cause to arrest a person, that person cannot be guilty of resisting arrest.” (Authority: Curry
  v. City of Syracuse, 316 F.3d 324, 336 (2d Cir. 2003) (citation and quotations omitted); People v.
  Alejandro, 70 N.Y.2d 133, 135 (1987)).


                                                     3
Case 2:20-cv-00975-JMA-ST                Document 78           Filed 12/05/24         Page 4 of 5 PageID #: 414




  In light of the proof in this case, we ask the Court to provide the jury with the following charge on
  Fair Trial Claim (Fabrication of Evidence)1

         The Constitution guarantees all criminal defendants the right to a fair trial. To prove that one
  or more of the defendants violated this right at the time she was arrested, charged and being
  prosecuted, Plaintiff must prove:

         First, that during the course of an investigation one or more of the defendants intentionally
  created false information;

          Second, that the false information created was likely to influence a jury's decision on whether
  Plaintiff was guilty or not guilty of a crime;

          Third, that the defendant you are considering provided the false information to a prosecutor;
  and

         Finally, that Plaintiff suffered a deprivation of liberty as a result of the false information one
  or more of the defendants provided to the prosecutor.

          I have previously charged you on what it means to act intentionally and that definition
  applies here as well.

            False information is likely to influence a jury's decision if the false information is material
  or important to the charges against the person. It is not necessary for the Plaintiff to prove that the
  false information was ever actually presented to a judge or jury or that the Plaintiff was ever brought
  to trial. It is sufficient for Plaintiff to prove that the information would have been important to a jury
  had it been used against Plaintiff during a court proceeding.

           As to the final element, a person suffers a deprivation of liberty when he is incarcerated, even
  for a short period of time. A party who is obligated to appear in court, post-arrest, in connection with
  criminal charges also suffers a deprivation of liberty. As to this count, it is irrelevant whether there
  was probable cause to arrest the Plaintiff. Put differently, if Plaintiff has proven all the elements of
  this claim, you can find that Plaintiff's fair trial right was violated even if you found that there was
  probable cause for his arrest.

          If you find that Plaintiff has proven by a preponderance of the evidence that one or more of
  the Defendants interfered with her right to a fair trial, then your verdict will be in Plaintiff's favor
  on this claim as to that defendant. If you find that Plaintiff has failed to prove that one or more of
  the Defendants did not interfere with her right to a fair trial, then your verdict will be in that
  defendant or defendants favor.



          1
           These instructions were delivered to the jury by Judge Caproni in Keith v. Sgt. William Hart, et ano., 17-
  CV-4477 (VEC) (S.D.N.Y.), filed on ECF January 30, 2020.

                                                           4
Case 2:20-cv-00975-JMA-ST         Document 78        Filed 12/05/24   Page 5 of 5 PageID #: 415




        We thank the Court for its consideration in this matter.

                                                     Respectfully submitted,
                                                     Frederick K. Brewington
                                                     FREDERICK K. BREWINGTON

  FKB.sak

  cc. All Counsel by ECF




                                                 5
